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      EXHIBIT E
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMMTN==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMMTO==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMNNP==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMNNQ==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMRMP==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMRMQ==
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NQOSJ=glekplkI=ab_lo^eJ=fkcrpflk=me^oj^`v=råáîÉêëáíó=jÉÇáÅ~ä=`ÉåíÉê=kÉï=lêäÉ~åë==MMRMR==
